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           EXHIBIT 14
Case 1:17-cv-11008-MLW Document 15-13 Filed 07/11/17 Page 2 of 26




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 RIICER. DANZIG, sCli:Elt.ER.:tM..AND & P'EU.ETTI UP                           .&VG 27 2001
 Headqllll1erl Plaza
 Ou Spetd~l Awaue                                                            .,....,.P. ...t
  Morriaown. N1 07962-llltl
  (973) S38-0800

. Anoraeyl
        · •· for Plaintiffs..   .., .... .   .   .
  Jotmton & JohNOn; Deh)':Orthopudit.s. lnc.
  and DePuy PrcdW:ta, IDe.  ·


 JOHNSON & JOHNSO!'f..l>BPUY
 ORTHOPAEDICs. INC. 'i N DEPUY
 PRODUCTS,1NC.,
                                                      plaiDtifra.
                                                                             CMLACTION

 BIOM!Tt.INC. andROBD,-rT. BARNEY,

                                                     Detirld.U.

          THIS MATTER baving been opened w lbe Court by. plafalim JohnliCII & Jobnloo
 (" J&J"), o.Pu.y ~~ ~. (".Del'U)' Oftbopudb") aud DePuy Pxodllc:t&, Inc. ('1>ePuy

 Produets1, aeelcin& relief by way of temporuy resttalnll purauant 10 &. 4:52; md tho Collrt

 hlviDJ eo&Uidmd the ~ filed in eolllltction with taid ipplicatioai: Inc! the Court having
  bMn1 tho 111ptn•~ of ~1 on July 17, 1007; .and the Court havi.aa At !Qrfu its opmjon Ol\

 lhe record on .J11ly 17, ·loa?, aad hevlnJ conducted a lllephone ~ with ~~
 conoeminJ the Conn o!~ Orocr on AUJUSI 12. 2007; IUI<l!br &oocl caUIO &bowu;
         rr:is on tbil _rtt-Y of                 /'w.gx.+-          .
                                                                    2001.•




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Case 1:17-cv-11008-MLW Document 15-13 Filed 07/11/17 Page 3 of 26




  Cowt:



  IC!tivill• wilh Biomtt . - . SbU1 in ~1ion witb.Biomllt's Dental Div.lalon. Blomet and its

  oflic;~ agents and eq»~ will not cauae o'r pcl111ft Ms. Bam.y·to dO so. Biomlt's Oemal


                                                                                  .                  .
          2.     Ms. Bu:fte). D\&y hal'e \>ll.uteu-m.ted con~ 111d coaununicltiom only

  with Biomet emplo)'eU ,me, ~ employed by B.iomtt's D~ DiYisUm or in oomieollon wilh
  worlc that applies DillY to tbt D.:ntal Division.       'lloh. Barney mt.y    DOl .bavt.   bllaDMf.A!Wed

  eonfcrcncca an4 oomm,unintlom reiating to Orthopediea with Blomet employees. For plll'j)Oses

  of   ems Order, ."~es"             DWin& ever)'thiD&    other than Bj()ll)lt'i':Dtatal Di\iisiOI). for
  example, "Ortbopociiea.. ·,iul;lud05, but iJ not ltmited ·to, Bicmtet'a ()rihopedir:e, Spi!le (whl.ch

  lncluda !be   Bracinl ·. .t     SoJ\ Oooda Lioea),      T~      Spom Mtdic:Uie and Mlcmflurion

  (Cnuial/Neuro) Divilliqlll, all of which are iiaJDP'titiv. With PlaiiUifti.

          3.     l•b. B~ lhallliot sm.d to or reofive f!um Biom.t empl~~ or liP* wrinm

  or electronic ~ooa. such.u emaila, tclatinl :to ~ ~wover, ifMI. Bamty
  m:civcs a writtea or ·oloommk oommUII.iallan 1l:om Biomet's. tqJlO)'eM oc a,.m that

  allbtbntially relates to Biamet's Dallal DiviJion aod tblo -                   ~o   Bio'rnet'a no,.·Deutll
  businca, ~ fact that s'~et did not ntdaet·the non-Omtlll ttfet~ frOm such ~Wilcation
                            r··       .           -        -                           .
  or that Ma. Barney r.vi.ewod RICb DOI'J-Dentai refli'tlnc;es ilhall uo\ b4 ~011 a violalian ollbls




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Case 1:17-cv-11008-MLW Document 15-13 Filed 07/11/17 Page 4 of 26



         4.       MJ. 'B~ may wotlc at Bkim.et's Waruw;.IndiW flldlitia in connectlon with
  the Donut DIYilioa, lNfMs. B~®Cy'a of1lc:e will DQt be louted r.cljicoaNo 1he sroup of Blomet

  employ~ wbo 'York tricciiiDoction with Bloznet'a{)rtbopedica businea.


          s.      Ma. B~'may not azrend l:lul1le po(tion5 ofaoo«al ~ Olhermeetillp orBiamet
  whtire tbe Onhoped!c ~ ofBiomet's tnllintA mipt or woukl be ~ in any Way. If a

  si,.en meotin& invot.es raon ~an one Blomet busineu unit, M.a. Birftey may att!llld .on}y tbat

  portion of die meoriA& ~. Biomet's Dfntal Dlvisiou. epcf wlU li:Jt'atteacl or otherwlae be
  involved In any way ln: OCI:iu pi:lnlona Qf the mHllna rtpdlna Orrbopc:dles; '
                           ' i
          6,      MI. B.-y will     DOt   .di.o}oM,   UN, disaemi~    leaNl'e   UP.Oft !'!:   pllblilla   1111)'   of

  pllintifli' confidential ii\!onnation, rileanioa. IU dcfiDod in her BmplO)'DD SICltcy, Non~

  DisclOS\AfC, Noo-Compedtioa me! Non-Solicitition A~eut ("A~ with plaiutif&,
  ln1brm.allon dm:loHcl to MI. Barney or known by Mt. Btraey as a ·r ewlt ether employment by

  plalnti~, DOt   a-enlJy lrDowD to tba trtde or· indwltry in .,.,hlob pl81t!ri1fs are enJ18t!ld, about

  producta, pnx:-. tec!molopa,             llliiCbirlu, c.uctomw'- .Clieoll. employ.aa, aervic111 aDd




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  ot salea     ~. D&mlll                or lipificaDGe o! plllintiJ!i' CWitOalm or elieatl or tbtir

  employees or reprenntallva, prcfenDcel, ncc4l onoqllfrsments, ~ histories, or OCher
  cua101nor or cllemt-specUit huorrilation. PlaintU'fi roco~ that dotead.latt coatell .!he·validity

  or the Aiioomeat; aDd it il i'urth«




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        7.      ORDER&~       dw, cffeclive • of ]uly 17, Z007, plaintlm will supplcmant M5.

Barney's salary as provided. in the Agreement, subject to     disco~     md modification of thll

Order by lhe Coun; and it ia ~-




 12. 2007 at 9:30 a.m.~ and it Is furlbeT

        ORDERED th-.t any party ltll)' move to !Ualolvo or modify        ~      temporary    ~ts

 herein contain~ on two (l) (lays notice to tho otbcrpanies; and lt Ia t\mher
         ORDERED 'that plaintiffs' eowssel will lervt a "filed" copy oflhil Order llll   •


 counsel witbin.~ days ofreceipt hereof.




                                                                                                   [4 of 25]
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        LEITER OPINION- NOT FOR PUBLICATION

                            December 6, 2007

Dwight D. Luec~, Esquire
Barnes & Thornburg LLP
1I South Meridia,n Street                                               FILED
Indianapolis, IN 46204 .                                              1DEt 06 2007
William N. Howard;Esquire                                        ~,~P. V.ugh,Jr.
Freeborn & Peters·LLP
Suite 3000
311 S. Wacker Drive
Chicago, It 60606 ·
                     ·1'.


James P. Fenton, Esquire
Eilbacher Fletcher LLP
Suite400
803 South Calhoun·Street
Fort Wayne, IN 46892
             Re:   J.& ~J!DePuy'v>Biomet, Inc. and              Bamey
                   DOcket No. C-107-07 .
                   APPellate Division Docket No. AM:·216-07
                   Atrtplification of Prior Statement of Reasons
                       ., Pursuant toR. 2:5-l(b)

Dear Counsel:

       As you know,·this matter was bef9re me on ·October 4, 2007
for oral argument with respect to the Plaintiffs' application for a


   L                                  •   ..   l ....   ,   •   41 ._....   AA' AA,_




                                                                                       [5 of 25]
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 preliminary injumction. By Jetter dated October 11, 2007, 1
 informed you that I ~d decided to continue the temporary
 restraints previously entered and briefly explained my reasons.
 The preliminary injunction was entered on Noventb.er 2, 2007.

      In the interim, on.October 15, 2007, I entered an order for
 mediation pursuan~ to R. 1:40-4 . .The mediation ;was scheduled for
 November 29, 2007. Consequently, I deferred preparation ·of a
 more detailed opinion: in the hope that the mediation would be
 successful.

       A motion fordeave to appeal-was filed by the'· Defendants on
 Novembe.r 23t 200V., which 1 believe was the last•day to file such a
 motion, or close to1it. ·Counsel -agreed to the Plahitiffs' appli~tion.
 to the Appellate Oivision for an extension oftime ,torespond to the
 motion for leavei;to appeal, pending--the mediation, which was
 granted. The mediation took place on November 29, 2007, but
 proved unsucces5ful. Consequently, the Plaintiffs;)VilJ be opposing .
 the motion for leave to appeal. Pursuant to )!. 2;5-l(b), I am
 exercising my right to submit "an amplification~ ofmy prior very
 brief statement of:teaSons.
      Before considering the facts presented on 1he' 'application for
a preliminary inj'itoetion. a review of the applicable law will be
helpful. A court' asl(ed to enter preliminary injlmCtive relief must
always bear in rnind' that "(t]he power to issue injunctions is the
strongest weapon~ at the command of a court of.equity, and its use,
therefore, requires :the exercise 9f great caution, deliberation and
sound discretion... Light v. National Dveing ·& Printin& Co.. 140
N.J. Eg. 506, 510 (Ch.f·947).

     The factors- to be considered are well known. The party
seeking preliminaty,lnjunctive relief must demonstrate (l) the need
to prevent irreparable injury, (2) a reasonable·,· probability of
success on the mmts, (3) a settled underlying lcgal·right and (4) a


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 balancing of hardships that favors injWlctive relief. Crowe v. ~
 Gioig, 90 N.J. l26, 132·34 (1982); McKenzie v, . Corzine.
 N.J. Syper.                 (App. Div. 2007); J.H~t.Renarde. ~
Si.J.m., 312 N.J. Spr. 195, 206 (Ch. Div. 1998). If a court is doing
more than presmfug the st~tus quo, it must determine whether all
 of the Crowe elements are present MeKenzie v. Corzine, _ _
 NJ. Super. at :,           . And, contrary to the asSertion ofcounsel
 for the.Plaintiffs;:-'a eourt must consid~r whether the Crowe factors
 "clearly and convincingly·support[] the entry of injunctive relief..,
Thid·
        As will be:,seen; this case .centers on the· enforcement of a
restrictive covenant, or covenant not to compete, lin an employment
agreement. New- Jersey recognizes and will!: enforce post;.
employment resttietive covenants between azt. employer and
employee, but onlyHfthey are reasonable and· not :merely intended
to prevent "competition as such". Whitinver Bros,. Inc. v. Doyle,
58 N.J.:. 25, 33-34 (1971). While the employer cannot merely stifle
competition, it has ,"a patently legitimate interest:in protecting D
trade secrets as well as ·0 confideritiai busineSs·ififonnatiQn and []
an equally legitimate · interest in protecting · [] customer
relationships." It at 33. Su~h agreements Will' be enforced in
whole or in phrt •'to the extent reasotulbJe under the
circumstances." ;SOlari Industries. Inc. v. Malady; 55 NJ:, 511; 585
(1970). Such ·an·. agreement is reasonable when it protects the
legitimate interests of the employer, imposes no undue hardship on
the · employee, · and is not injuriouS to the public. Karlin y,
Weinberg, 77 NJif408, 417 (1978). .

      Defendant,,:Robin T. Barney ("Barney") w~ a high level
executive of Plaintiff DePuy Orthopaedics, Inc. ("DePuy").
DePuy has offices in Warsaw, Indiana, which is where Barney
worked at the time she left DePuy. Defendant Biomet, Inc.
("Biomef'), Baniey's current employer, is also 1b(:ated in Warsaw,
Indiana. Biomet 1tdfers many, if not most, oftb~ 'Same products as

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 DePuy wtd its affiliated companies. 'l'he ISsue nere 1s wnemer .u1c::
 covenant not to compete ~igned by Barney While at DePuy
 prevents her from·"Working immediately in the same product area
 for Biomet QT whether she must wait eighteen motiths, or perhaps
 some shorter periOd, before doing so.

       Plaintiff Johnson & Johnson (J & J), which is located in New
 Brunswick, New'· Jersey, has subsidiaries ·. 'active in the
 development. promotion and sale of medical device and diagnostic
 ("MD&D") prod~. consumer products and pharmaceutical and
 biotechnology pfflducts. The MD&D portion of these J & J
 businesses includes ~ix segments, one ofwhich is DePuy, Inc. and
 its subsidiarie~ .. ~"ich are sometimes referred: t6 .'as the "DePuy
 franchise." . Within that "franchise, are ;,Plaintiff DePuy
 Ortho~dics, as~ well as DePuy Spine, DePuy1 · Mitek (sports
 medicine) and GOdman .(neurology). Codman ' products include
 products used for Cfanial·and maxillofacial reconstruction.

      Barney worked·for J & J operating companies for 15 years.
 Her resume descrlbtd her progress from an engineering manager to
 various higher level positions in several locations, including
 Indiana, as follows: "VP, Spine Operations, DePuy (1999-2000,
 Raynham, Mass86husetts)," "VP, US Joints, DePuy (2000-2002,
 Warsaw, Indiand~/' ''VP WW Joints, DePuy :{2002-2004, Cork,
 Ireland)~ to "VP~ · WW Operation, DePuy (2004 ·to [2007],
 Warsaw, Indiana)~'" In her resume, she described her duties as
 Vice President Worldwide Operations, her last 1position at DePuy,
 as being 44[r]es~sible for all aspects of o~ons including:
 procurement, foreeasting, planning.. lOgistics; inventory
 management, m31tufacturing, ·and distribution .:.. across all DePuy
 Operating Compariic;s (Joints/Trauma/Extremities, Codman, Spine,
 and Mitek).'' ( ,.
      Over the co~e. of.her employment at J &:J/DePuy, Barney
 signed agreem!mtS containing covenants not to compete. The first

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  appears to have been in 1999 '(when she first became a Vice
  President). There:!was another in 2000 and yet another in 2004.. It
  appears that she dj~ not sign such an.agreement in 2002, when she
  went to DePuy ! ~:· subsidiary in Ireland, because they are not
  pennitted under .Irish--law.
                   ."
             '
        The 2004 ftlilployee Secrecy, Non..Co~tition and Non-
  Solicitation Agrem1~t ("Agreement';), the one primarily at issue
  here, was signed after .Barney returned from. Ireland and was
  ptomoted to the ~~tion of Vice President, Worldwide operations.
  It provides, in pettinent part, as fol1ows:
                  ..
                   ;



       CONfiD£NIIAL.lNFORMATION means -~nfonnation
      disclosed to (~e or known by me as a result of my
      employment by the COMPANY, not generaiJy known
      to the trade or industry in .which the COMPANY is
      engaged, ~ut products, processes,. .;machines~
      customers,·..'l~Jients, employees and ·services of the
      CO:MPANY~. ~including but not limited .to, ..inventions,
      research, ckyelopment, manu~g, .purchasing,
      finance, (lata. .·processing, engineering,. marketing,
      merdlandisiA& ·.selling, sales volumes and,· strategies,.
      number and.rlocatioo ofsa1es .representativ~s, names and
      significance;,pfthe COMPANY~s customers and clients
      and their ·.~loyees and rept"esentatives. m:eferences,
      needs and ~uirements, purchasing_histories, .·and other
      customer on:Uent·specific information, and-compamble
      information. ~ut .the products, processes,.. .rnachines,
      customers, .-~lients and ·services of affiliates . of the
      COMPAN\rtacquired by me during my emp1~yment by
      the COMPANY.

      CONFLICQNG ·PRODUCT means any product,
      process, m.;hme. invention or service of any petson or
      organization·:other than the COMPANY in existence or




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     under development which resembles or completes with
     a product, preeess, machine, invention or service upon
     which I shal!Dhave worked or about which I become
     knowledgeable , as a result of employment with the
     COMPANY and whose use or maiketabili~ :coqld be
     enhanced by·,tapplication to it of CONFiDENTIAL
     INFORMATI0N · which I shall have had llCCess to
     during my employment.
                         ~ ~.




     CONFLlCllNG ORGANIZATION means any·person
     or organizatiott which is engaged in or about to become
     engaged in :research on, consulting regarding, or
     development:;:.production. marketing, or selling of a
     CONFLICTING PRODUCT.               .

                                *   II!     *
     S. I · · reQogni7..e        that   . CONFIDENTIAL
     lNFORMATIG)N is of great value to the COMPANY,
     that the COMPANY has.legitimate business interests in
     protecting its i60NFIDENTIAL lNFORMATlON, and
     that the disclosure to·anyone not authorized,to receive
     such      information~     including       a   CONFLICTING
     ORGANIZATION, will cause imrnedjate , hreparable
     injury to the :COMPANY. Unless I f!rSt ··seeure the
     COMPANY ,s written consent, I will nQt disclose, use,
     disseminate, lecture upon or publisll. CONFIBENTIAL
     INFORMATION. I understand and agree .·that my
     obligations· not to disclose, use, disseminate, . lecture
     upon or pubUsh CONFIDENTIAL INFORMATION
     shall continuc',aftcr tetmiJUJ.tion of my employment for
     any reason. ·.·, .: ·
     6,     During my employment with the compan~ and for
     a period of ·e tlbteen (18) months ·after termination of
     my employment with the COMPANY for any•,reason, I

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      will not render services, din:ctly or indirectly, to any
      CONFLICT:ING ORGANIZATION in the United
      States, or ·in any foreign c.ountry or territor:y in which
      the services I may provide could enhance ,the use or
      marketabilit)l · of a .CONFLICTING PRODUCT by
      application ,:;,of ·CONFIDENTIAL INFORMATION
      which I · shall have had · access to· . during my
      employment;~·excepf that I may accept employment with
      a CONFLICiFING:OROANIZATlON whose business
      is diversified and which is. as to that part of:its business
      in which I aoccpt employment, not a CONFLICTING
      ORGANIZATION; ·provided that the COMPANY,
      prior to my :accepting such employment, shall receive
     ·separate Written assurances satisfactorY to the
      COMPANY               ftom        .s uch    CONFLICTING
      ORGANIZ.Aq:JON and from me, that I. will not render
      services directly or irtdirectly, for an 18-month ,period,
      in conrtection·with any CONFLICTING PRODUCT.

      7.   I ·recognize that the COMPANY's ~lations with
      its accowtts;; ·(?t.J$tomers and clients represents .an
      important :business · asset that results.· '"·from the
      COMPANY~ ·significant investment of itS··:timc and
      resources. ,;fl ·further recognize that by virtue of my
      employt,nenf.i)y the COMPANY, I have gained or ga,in
      relationships~ with   the accotmts, customers land clients
      of the COMPANY, and because of such relationships, I
      could cause .1fte COMPANY great .loss, d~ge, and
      immediate ittep~le harm, if, during my employment
      by the CO~ANY or subsequent to the termination of
      such emplo)!.lllcnt for any reason, I sbouldffor my~elf
      or on behalf of any other per$on, entity, finn or
      corporation, .sell, offer for sale, ·or solicit .or' usist ~ the
      sale of a ·ptoduot or service that could compete w1th a
      product ·oruservice being sold or developed ·by the ·

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       '-'Vl'I'U.ru.,. .l •.   .l   U.U.•.L ....lUl\oo   G&·Q"'   WIGL   '-IU,f.Ul!!)   111)'

        employment W•ith the COMPANY and for eighteen (18)
        months after :tennination of such employment for any
      . reason, I wiU not solicit any business from, ~ll to, or
        render any .Vice to, or, directly or indirectly, help .
        others to soli<Sit business from or render Service or sell
        to, any of the :accounts, customers or clientS with whom
       I have had contact during the last twelve (12).months of
       my employment with the COMPANY, for any purpose
       related to the .saleofany such product or service. I also
       agree that f$' a··period of twelve (12) months after
       termination ~oJ employment with the COMPANY for
       any reason, I ;Mll 1not solicit or hire on my own behalf:
       or on behalfof·others, any COMPANY employee.

(Emphasis in origirial). . ·

        Although Barney had signed several such agreements prior .to
her   transfer to Ireland in 2002, she was not immediately asked to
sign one upon her~ to.the United -States and related promotion
in 2004. When she ·was subsequently asked to !:sign one, she
initially demurred. Barney .testified that she understood that she
would not receive hcl: "bonus" for calendar year 2004 if she did not
sign the Agreement.: ·Earle Hanlin, the person whq allegedly told
her this, recalls telling her that she would not .receive stock options
or Certificates of &tra ,Compensation ("CECs") it' she did not sign
the Agreement. lt··appears that the awarding of bonuses. stock
options and CECs'arc discretionary at DePuy.

     While DePuy": rnay have been heavy-hand~ in obtaining
Barney's signature' ~ ,that time, she had worked' for DePuy/J & I
long enough to ~oW .that ~opl~ at her level were ~uired to sign
such agreements,. &a ,apparently IS also tpe C3$e at Btomet. BaJl':eY
signed the Agreem~t and did not challenge its validity ?r notify
DePuy that she did not consider herself to be bound. by It for the

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 approximately thfele· years she remained at DePuy, dUring which
 time she continued to rec~ive the full salary, · as wen as
 dl.scretionacy benefits ·and additional remuneratiC)n; of her position
 as Vice President- iOf World Wide Operations. ~-.Martindale v.
 Sandvik, Inc., 173 ,N.J.. 76, 88-89 (2002) and Hggan v. Bergen
 Bruoswig Cotp.; 159 N.J. Super; 37, 43 (App. Df:v. 1977) for the
 proposition .that oontinued employment can be consideration. for
 such an agreement.

      Barney also-'' Contends that, prior to her execution of the
 Agreement, Hanltw ~ told her that covenants sucl1 as the ot1e·
 contained in the AFement ''were intended onlyi"for ·entbrcernent
 against ·personnel ·anployed · in sales, marketing;· or research and
 dev~lopmcnt funetiOhs/' Barney testified that this;:-recollection is
 supported by an· email from Lawrence Cunningham that Hanlin
 showed her at 'tilt time. The emails exchanged between
 Cunningham and ~in we not entirely coilsistenf'With Barney's
 recollection. The emails from Cunningham state ~that covenants
 not to compete w~te to · protect trade secrets and intellectual
· property, and ''unlt.Ss there'·s a blatant conflict of·ifiterest, usually
  in a scientific or tedmical field, they are virtually not enforceable."

         However, Bariley never asked Hanlin whetherDePuy would
 seek to enforce the covenant against bet: ~'We never talked about
 enforcement against me." Moreover, Barney recognized that
 Hanlin '\vasn't a ttystal ball reader." 1 In any eventrit is clear that
 Barney does not ·e~ert ·aJlege that·she was· actullly told that the
 Agreem·ent would·1inot be.enforced against her. 1 'see no factual
                          l:

                     ''
 • At the time that Haglin .engaged in the discussion, he . ~. in the role of
 supporting Barney for.:~onnel purposes; he was noth~t; ~~perior. Bam~y
 did not speak about tlfe: issue of enforcement of the cov~t as to her wtth
 Cunningham, the in(tiv.fdUal who Md uked ijanlin to seek signature of the
 Agreement, nor with Tony Vernon, the person to whom $he reported at the
 time.

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 - -·---   - --   ·-~.   - - - - --r ,.._   r- ------- - -,; -- ·-r.r - - , · . ...... ___ -- ,_--- --   ,-,~   - - · --
 and definite·prornise, (ii) made with the expectation that the other
 party will rely UPQn that promise, (iii) the other·. party reasonably
 relied on the pron.tise, .and (iv) the other party suffers a substantial
  detriment RoyalAssocs. v. Concannon..200 N.J. Super. 84,91-92
  (App. Div. 1985). ·Certainly there is' no indication of fraud. ~
. Jewish Center of Sussex CountY v. Whale. 86 & 619, 624-26
 (1981). .                           ,;
                                   ..·.•
           Barney cleatly had access to ·significant amounts of
 confidential and ·proprietary information belonging to J & J!DePuy
 as part of her work for the DePuy .franchise. Bamty was provided
 with the followiltg types of information, among' others: sales
 infonnatio~ - dam:;"relating to oost savings of DePuy and its
 affiliated comparties'; ·infonnation assessing the capabilities of key
 employees, illformatioir eoncerniftg the profitability rand annUalized ·
 savings of thee DePuy franchise by operating company,
 information, at a ·level of detail not known to the public,
 concerning standard cost information. and products· being
 developed by DeP~. She was involved in disc\tssions concerning
 the DePuy franchi$'8''s business planning and future strategies, such
 as an Operations Sltategic Plan including plans and:projections for
 headcount. inventory levels and capital expendit'lll'es through to
 2013.

       Barney was ifivolved in many aspects or~tegic planning.
 By way of exampl'e; Barney·was a member qf thtf' DePuy Global
 Management Boarit (~~oMB..) frOm 2003 or 2004 UHhe time of her
 resignation. The·' GMB is cdmprised· of senior commercial
 representatives tmm the entire DePuy global ~-,franchise: ( 1)
 Orthopaedics, (2)::<Spine, (3) Mitek (sports m~icine) and (4)
 Codman (neurolept). • The GMB is also comprised of senior
 functional leaderS' :from across· the DePuy fran~hise, including
 operations, quality~ finance, human resources, infonnation
 technology, busmc$s developm'etlt, research & development.

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                                                . ........... _...................... ..................................------·-·····..··-··-
                                                                                "                                                               ..
 communications~ 'health care compliance and legal. The GMB met
 on a quarterly 'ba8is from the third quarter of 2005 through
 approximately OCteber 2006. The GMB then met op. a monthly
 basis again. from .·approximately November 2006 through the
 serond quarter of 2007.
                     I
       Because the .GMB is extensively involved in the strategic
 planni.ng and taQtical execution for the entire· DePuy global
 franchise, mem~ ,. pf the GMB are privy to confidential,
 proprietary and tra4e secret information concerning all four of the
 DePuy companies; :(l}Ortho,paedics, (2) Spine. {l) Mitek (sports
 medicine) .and (4); 1Codman (neurology). The GMB' s strategic
 operational focus is . on the preSent and the short- .and mid-term - it
  examines the c~nt 1year and approximately the next 18·24 month
  period, as well as ~$rategic business planning for ·approximately a
 .seven year horiZODiJ:. Ofuer activities and sowces ofinfortnation are
  found in the record on the application for .the .preliminary
 injunction.

       Barney was a1so a member of J & J"s Medical Device and
. Diagnostics e~&D") Council and its WorJ4wide Operations
 Council. The MD~D Council provides strategic. planning for the
 facilities, equipment and persotJnel needed· tO .manufacture and
 distribute the produpts of J & J's MD&D business, which includes
 five companies ..,other than DePuy: Cordis · .'(interventionaJ
 cardiology); Life ·Scan (diabetes .l:nanagementk Ortho Clinical
 Diagnostics (diagpQ~ics and other testing equipm~nt); Ethicon-
 Endo (minimally invasive surgical pl'Oducts and. ~uipment); and
 Ethicon (surgical .~lusures and binding materials such as sutures).
 Until the beginning of 2006, Ms. Barney chaired the MD&D
 Council, and thereafter she served as DePuy,s representative on
 that Council. Ms. Barney also served on .the J & J Worldwide
 Operations Coun¢il, which focuses ·on developing strategies to
 ensure that J & J'.s products are of the highest quality, while
 improving the cost of goods and effective tax rates. That Co1.1ncil

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 focuses on implementing best practices and operations across J & J
 and reviews. J & fs three major business groups: (1) Medical
 Device and Diagn.ostics; (2) Consumer; and (3) Pharmaceutical
 and Biotechnology•...

       In my view; tlte record is quite clear that Barney had access·
 on a.regular basis :fa the type of confidential bus~ess information
 that is appropriafe1y subject to protection. with .pr without a
 covenant not to compete. Whitmyer Bros., Ing, y. L}qyle, 58 &
 at 33. Tellingly, in my view, Biomet expectS Barney to sign a
 covenant not to compete with it, al:though it had not yet been
 signed as of the d8tb of oral argument, In addition, when Biomet
 produced some business information similar to the DePuy
 information to whwh Barney had access, it did .so subject to a
  confidentiality -o~~ There is no basis in the record to conclude
  that the types of iJ1fonnation to which Barney .had access were
  simply "matters o~. general knowledge within th.e- industry'' or
· "routine or trivial~erences in practices.and methods,.~ which are
  not entitled to prot~tion from competitors. lit·at33-34.
                     . .\ .i       .   .                   .   .
       In the spring~o~.. 2007, Barney Wf.lS dissatisfi,ed with her work
                         ~     .                                          .
 at DePuy and disappointed that she had not received a promotion
 that she believed had been promi~~ to her. Although Barney
 claims that she WI$.. deprived of the promotion by a :new superior
 who acted for discnminatory (gender-based) reasons, she has not
 fi_Jled a countercl~
                    .· · ::SS.tat
                              tatti~ng such a ca.use of action n?~ has she set
 forth a compelling ~ case, as opposed to assert1ons, for such
 discrimination at this point. Had she done so. I would have
 considered the issl,i~-;itl weighing the ~rowe factors.




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     Barney contaCted a fonner President of DePuy Orthopaedics,
and asked him to put her in contact with Jeffiey .Binder (.Binder),
the President of Biomet - himself a former President Qf DePuy
Orthopaedics. Barney ·informed Binder that she ·had executed a
confidentiality and 1 non-compete agreement ·with ;Plaintiffs and
provided him with li'copy of the Agreement. Attomeys for Barney
and Biomet discussed the Agreement at some length. Barney's
counsel told Biomet~s 'counsel "[t]hat someone' dn the human
resources · departrrtent at DePuy had explained tO' Robin that
(covenants not to oompete] were typically onty:enforced against
employees working in sales and marketing or research and
development."

     During the   :C()tJtse   of negotiations with Bromet, Barney
requested and Biomet agreed that Biomet would'· indcmmify her
against-any claims ilat DePuy might 111ake against bet based on the
Agreement.· Bamey1also negotiated a provision that, In the event
that she were to be enjoined from working in the orthopedics area,
Biomet would plate· her ·in a suitable altemative· position or
business unit until' Lher restriction expired~ Biomet's dental
division, in which :Barney now works, was the 'bnly division
discussed at the time:\
      Barney contiri.u:ed her activities at DePuy 'while she was
negotiating her newttnp1oyment arrangement with Biomet. She
participated in · portions of a two day GMB meeting in New
Brunswick. New Jersey on April 17 and 18, 2007. , ·

      Barney ·received a draft offer letter from Biomet in early
May, as well as a draft resignation letter prepared ~ counsel for
Biomet. The offcr:let:ter referenced a number of other documents,
including "Biomet•s"·Confidentiality, · Non:.Disclesilre and Non-
Competition Agreement." On May 4, 2007, Barney's counsel
asked for a copy r:::of ·this Non-Competition Agreement and
expressed the coneem that "Ms. Barney is reluctanfto: sign another

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 non-competition agreement· given the problems the agreement with
 DePuy is causing.~                ·         ,

      A revised offerdetter was received on or about May 87 2007.
 The Biomet Non-O>ntpetition Agreement was ·also provided.
 That covenant notto compete appears to be morecrestrictive than
 DePuy's covenant)"·· While DePuy's covenant allows Barney to
 work for a noll-competitive division. of a competing organization,
 Biomet's covenanrprohibits the employee from working, directly.
 or indirectly, ''with:a person or entity which directly competes with
 the Company.,

      On May 4,     Ms~:   Barney conducted research: on her computer
 in an attempt to detenitine whether Plaintiffs had': been successful
 in enforcing a covenant not to compete against a, 'Worldwide Vice
 President of New Business Development for DePuy Spine, who
 apparently left DePuy to work for a competitor. · ,

      Barney announced her resignation to Mjchael Mahoney,
 company group cbainnan for DePuy, on May 9. 2007. In her
 resignation letter, Barney informed DePuy that she :intended to take
 the position of Senior Vice President- of. Operating Systems at
 Biomet. DePuy ad\iised Barney that resignation would be effective
 as of May 23, 2007, and that she would continue to receive
 compensation through that date.

       In a letter dated May 14, 2007, DePuy- 'placcd Biomet on
 notice that it did .liO't believe that.Barney could fulfill the duties for
 Biomet identified in 'Barney's resignation letter without violating
 her obligations to :DePuy under the Agreement ' Plaintiffs filed
 their Verified Complaint-with this CoUrt on May 21, .2007. Barney
 waS served with the Verified Complaint on May 23, 2007.

      Barney reported to Biomet's headquarters in Warsaw,
 Indiana on May 24 or 25, 2007 to fill out the paperwork needed to

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begin employment with that company. 2 She filled out an
Application tOr Employment in which she answered ''Yes'' ·to the ·
question: "Are you bound by any employment.oontract, or non·
competition agreement that may be brea,ched by your employment
with Biomet and/or does your cUl'l'ent or any prcwious employer
restrictyourwotk;:attivities after leaving their employmen4 for any
period of time?"· The Application then asked: "If 4yes.' until what
date?" Ms. Barney responded: "See Non-Compete." Biomet
inquired further: ."What type of restriction?" · Ms. Barney
answered:·"Non-Compete."

     Biomet compensated Barney consistent with<}J.er offer letter,
providing for an aimual salary of $275t000 per year, plus benefits
and a car all6wance. This compensation was :effective· May 24,
2007. .Barney s~ her employment with Biomet as its Senior
 Vice President of G)perating Systems. She was placed in an office
ju.~t" "down the hall"· from the office of Jeflrey · Binder,           the
President ofBiometi: She was given access to aU/ofBiornet's data,
not just data relating:to the dental division (Biomet3i), so that she
could "learn about the company". She was also given plant tours
of Biomet's Warsaw facilities. I understand that most of Biomet
 3i'-s manufacturing>1faci1ities, on the ·other hanct are in Florida.
That Barney has to· travel to Florida to perfor.rn some o( her duties
for 3i, while perbapsdnconvenient, is not a true hardship because
her work has always involved travel to some extent.

      On June 15;:, 2007, after it became cleat that DePuy was
pressins to enforee; the Agreement, Biomct fonnally           transfe~
Barney to Biomet·l il:and reduced ·het compensation·from $275,000
to $75,000. Biometts Director ofCorpomte.HumanResources was
told that the transfer had "something to do with the, with the
                      i '· . .

2  Barney Jived and YIOtked for DePuy In Warsaw both pnorto and after her
stint at ~y Irel4rld. · She h!!d · apparently moved . tQ Warsaw from
MassachusettS in 2000~ a;~ ·p art of a DePuy reassi~cm or promotion.




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 attorneys." Barney did not seek to ·negotiate the $75,000 amount
 with Biomet. Aeeording to Biomet, that amount reflects what a
 Biomet employee'ih a·similar position would receive.

        Four days later, on iune 19, 2007, counsel ·fot Barney sent a
 Jetter to counsel :fQt Plaintiffs seeking to invoke the provisions of
 the Agreement reqiiring DePuy to make up a salary differential in
 the event the Agreiement barred certain employment opportUnities:

      Please be &d"ised that, eff~tive June 4, 2007, our
      client, Robi-n'~Bamey,. was hired by BiornetnDental as
      Manager oft.ean Manufacturing. ·Her string salary is
      $7S,OOO.     Pursuant to paragraph 9 of the Non·
      C{)tnpetitiori' Agreement with your client; DePuy,
      claims is an.Jssue ·in this matter (a position·With ·which
      our client sWagly disagrees), ·demand iS hereby made
      for immedia,tt-·payment of the difference between Ms.
      Barney's sa~ary·· at Biomet Dental and her.total gross
      compensation:wnen she was employed by DePuy.
      Although I required Plaintiffs . to . provide the salary
 differeniial as a cbndition of both the TRO ana·the preliminary
 injunCtion, there ··are disputes· as tp whether the S7S,OOO salary is
 artificially low and whether Barney made a good faith search for
  other etrtploymenf ·~that would not have implicated the salary
  differential proviSions of the Agreement with DePuy: In my view,
  those are both veryt-viable issues, which is why }·have not viewed
 ·the Plaintiffs, failure to agree to the payments immediately a
  breach of the A~mcnt wh]ch might ·excuse· Barney~s further
  obligations under the covenant not to compete.

       Despite Barney's transfer to Biomet 3i,. she apparently
 rontinued to perform some work as Vice President of Operations.
 On Saturday, June )~3, she sent an email to Biomefs President,
 analyzing domesue''and international backorders of all Biomet

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  product, includinJ, or1~~pedic implants and instruments. On June
  24, she reque~ infonnation about orthop~ic product open
  Qrders becat!se "~~tfB. is asking a lQt of question$, so I ri~ed to get
  some answers quickly.,. On June ·30. Barney sent Binder her
  proposals for ~rganization of all of Bi()met's worldwide
  operations, altbQ~gh she now contends that. ·these were no~
.. requcs&ed by 8ix)4p. . On July S_, Barney reviewed the progress of
   Biomet's entire ~LEAN manufaCturing program~, with Biomet's
  LEAN leader. On July 7, Barney complain~~! about the "lousy
  result for spine ·IMi- week" and asked what issues needed to be
  addressed. On Sunday, July IS, Barney was .contmunicating with
  other Biomet em.p.Joyees about "knee forecast data!'

         On July 17, . 2007, after requiring the Plaintiffs to give
   Biomet and B~· notice of the application, 1 heard argument on
   the Plaintiffs' application for a Temporary Restr$ning Order. I            :::--..
   granted tempol'llf),':!~straints for the reasons set torth on the record
 . on July 17, 200'1~~ Because there were disagr.eemertts about the
   form of the ordet,-JI held a telephone conference with counsel on
   August 22, 2007, -The TRO was:filed on August 21, 2007.
                                                      "          '\

        There is LiUle .doubt, in my v;ew, that tbe .Agreement,         8$

  applied to   Barney.~1 meets
                             the general requirements of New Jersey
  law as set forth ,Ul·Solari. Whitmyer and ·Karlin~( Barney was a
  high-ranking ex-..tive who was privy to clearly confidential
  business   info~<>n      of    ~e   DePuy franchise well beyond that
  available to the ..general public or other competi.t<>rs in the field. ·
 The record created by . Plaintiffs, in connection With both
 applications for injunctive relief, supports their position in that
 regard.



 ' It does not appeat:idlaHhe Defendants made those reasc)ns a part of the
 record on their application·for leave to appeal.

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        Whether the•information could properly be ca.tegorized as
"trade secrets~', such as the formula for Coke, is bcsidQ the point,
inasmuch as Whitmver Bros.. Inc. v. DQyl~, 58 & at 33, holds
that an employer has "a patently legitimate interest in protecting
[]confidential busimss ·information" in addition ·to trade ·secrets.
The broad range : of present and· future business planning,
development, manufacturing and product development information
to which Barney was privy can easily be · characterized as a
"compilation whiclhone uses in 0 business and which gives [the
business] an opportunityto obtain an advantage over competitors
who do not know or.use it.» Sun.Dial Corp. v/ RJ~ub 16 Nt.L
252, 259--60 (19541,! Nttional Starch st Chem. ·com. v. Parker
Ch..c:m. Com,, 219NJ.:Super. 158,530 A.2d 31 (App. Div. 1987).

       It is also clear to me that Barney had access to confidential
 business information concerning "the use or marketability" of
 DePuy franchise praducts, as that term is used in Paragraph 6 of
 the Agreement In addltiori, I do not ~ee with the Defendants'
 argument that ·~mamtability" is limited to sales, whereas Barney's
 area of particular' expertise is cutting manufacturing costs. In my
 view, a common sertse understanding of l>'marketabiUty" includes
'the ability to reduee:the cost of manufacture so that:·the product can
 be priced competitively, i.e. at a lower price than: a competing
product.    While lower manufacturing costs can· also enhance
profitability, Le., s~Uing at the same price as a competitor and.
therefore making mere profit, such close parsing oftbe language is
not mandated by the longstanding judicial requirement that an
ambiguous contract be interpreted against its drafter.
      Barney waS V'IOe President for World Wide Operations and
travelled to varioas locations for the DePuy franchise.
Consequently. this l~~ not the type of situation,..such··as. a localized
busin.ess, in which a court might consider whether the tenitorial
parameters of the eov"ant are     excessive~   nor do I understand that
to be an issue. ·

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              -              .                  -
Whether, under thet circumstances of this case, the appropriate
period of employment restriction is 18 months> or whether the
infonnation involved becomes stale and Ms.. Barney's ability to
recall it becomes too limited earlier than 18 months after leaving
DePuy, remains    tQ>:b~· · seen.      Because of that concern, 1 have
scheduled the trial to1begin on February 26, 2008 .
                                 ...
      For all of these ,reasons, I have concluded that:the Plaintiffs
have provided clear: and convincing support for their application
for preliminary inj~tive reliefas to their likelihood·ofsuccess on
the merits in light of the unoontroverted ''material facts" and the
settled legal nature·o{their claim, which are two oft.hefour Crowe
factors; Parks v. Cemmerce Bank. N;Au· 377 N.J. :S uper.      378~ 387
(App. Div. 2005).

      I am also ~tjSfled that          ·the
                                      Plaintiffs .have .$atisfied their
obligation to make:dl, clear and convincing·. case. fot iiTeparable
harm ~d the balancing Qf hardships in their favor. The essence of
the Agreement betWeen DePuy and Barney, in addition to a
promise ·~ to · ·disclose· confidential ·information, is· the
requirement that B~ not work for a .cornpeting ·oompany with
respect to a competing product for 18 months. Clearly the purpose
of this prohibition is· to preclude the likelihood of either an
inadvertent disclostm:. of protected infonnation, :avpiding for a.
reasonable period of time what· the theologians .might call "the
occasion of sin", ot,a disclosure• whether verbal ot: .otherwise,
resulting from the d!Qployee's immediately doing,~sentially the
same work fo:r the competitor with fresh knowledge of the former
employer's confidential information. The concepthof ~'inevitable
disclosure, is reco&lUed in Nat~l. Starch & Chern, ·Gom. v. Parker
Chern. Cotp., 219 N.;)lt•Super. 158, 162 (App. Div. 1987).

    · The value to ;the· former employer of the "time-out'' in
worlcing for a com~tor is clearly and dramatically reduced if the

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 "time-out" does. nOt take place until the litigation is concluded.
 During the time the litigation is taking place, the·former employee,
 in this case BamC}l; would be sitting in the same sort of meetings
 she attended for D~Puy and talking about .the same sort of issues
 she discussed at DePuy meetings, with knowledge of DePuy
 confidential infon»ation fresh in her mind. but the ~meetings would
 be for the benefit of a competitor and would •be about similar
 products that compete with DePuy products. She would be
 overseeing the same sort of manufacturing processes and seeking
 to make them as cost...effe<:tive as possible for the :competitor, again
 with fresh knowledge of how .OCPUy does the very ·same thing.

       The lost value!of the "time..out" immediately ,upon beginning
 similar employmcm for the new employer would be impossible to
 quantify monetarily.     In addition, a    ''time-out~   long after the
 change in employt11ent woUld probably serve little, if any, purpose.
 Of course, all of that would not be a reason to enforce the covenant
 pending the litigation in the absence of the other Crowe factors. It
 would go significantly beyond merc]y preserving th'e status quo.

       With respect to the balancing of the hardships, I noted above
 that I have required DePuy to pay Barney the salary' differential as
 a condition to preliminary injunctive ·relief' ·I did so not because I
 am totally convinced that Barney is entitled to it contractually, but
 specifically to bal~ce the hardships. Although she changed
 employers for her ~ purposes and knowing ~t: she had signed
 the Agreement, I .wanted to make sure that she .would not be
 without the saJa:ry.,sbe bad ·while at DePuy while the preliminary
 injunctive relief was ·in effect. To require Barney 'tO work. during
 the litigation, for ~f:salacy $200,000 lower than spe would eam
 absent enforcemerif,pf the Agreement, would, in          my
                                                          view, have
 tipped the balance ofharoships in her favor.

     · I have already :noted that DePuy questions ·her entitlement to
 the differential; and,~th.at will be a matter .of proof·at trial. I also

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note that Biomet.h~ agreed to indemnifY Barney~ ," Consequently,
depending upon thit decision on .this issue at trial; there may be
some need to adj~t. who is ultimately responsible for the cost,
including the possibility that Biomet or Barney m~y be required to
reimburse DePuy. .. Jf Barney is required to do :so~ · she may be
entitled to indemnifiCation from B'iomet under the terms of their
agreement.

      For all of ~e reasons, J am satisfied that the Plaintiffs
presented a clear and, .convincing case for pre1iminary injunctive
relief under all of the Crowe factors. Because I attempted to ·taitor
the TRO to be as fair and focused as possible,- I continued those
restraints in the preliniinary injunction.' I have also set a trial date
at the end ofFebrttaty'2008.4




                                       Alexander P. Wau
                                       Presiding Jt1dge, UUllllte



• Although not the subject of the motion for leave to appeal, I also concluded
that New Jersey is an appropriate ft?nnn and that the Plaintiffs' choice of
New Jersey as the foruhi js reasonable. J & J is the parent company of the
DePuy entities and is~ in New Jersey. Ms. ~~ has traveled
                                                               a
to New Jersey, and otllb states, for busineS$ ·meetings on regular basis
while working .for DePuy·. Ms. Barney currently traVels·.to·:other states as
part ofber new duties fq~t..Bi<?met. New Jersey has an intell!St in providing a
forum for its Cor:porate citizens in matters such as this. The S()urces Qf proof
are not solely outside·of:New Jersey, .and in fact some of them arewithin the
same municipality as t}le courthouse where .the trial will take .place,  ~
Kurzke v. NissanMotot·com: in U;S.A.. 164 N.l. 159, 164-166 (2000).

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